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CASE NO.: CV 18-02217 SJO (FFM)                      DATE: April 6, 2018
TITLE:        Stephanie Clifford v. Donald J. Trump et al.

========================================================================
PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz                                     Not Present
Courtroom Clerk                                      Court Reporter

COUNSEL PRESENT FOR PLAINTIFFS:                      COUNSEL PRESENT FOR DEFENDANTS:

Not Present                                          Not Present

========================================================================
PROCEEDINGS (in chambers):     ORDER GRANTING DEFENDANTS' EX PARTE
APPLICATION FOR EXTENSION OF TIME TO RESPOND TO FIRST AMENDED COMPLAINT
[Docket No. 26]

This matter is before the Court on Defendants Essential Consultants, LLC ("EC") and Donald J.
Trump's ("Mr. Trump") (together, "Defendants") Ex Parte Application for Extension of Time to
Respond to First Amended Complaint ("Application"), filed April 5, 2018. Plaintiff Stephanie
Clifford ("Ms. Clifford" or "Plaintiff") opposed the Application ("Opposition") on April 6, 2018. For
the following reasons, the Court GRANTS Defendants' Application.

Defendants request that the Court extend the deadline to file an Answer to the First Amended
Complaint ("FAC") until after the Court rules on a pending motion to compel arbitration, filed by
Defendants on April 2, 2018. (See Mot. to Compel Arbitration, ECF No. 20.) Plaintiff opposes this
request on the grounds that the Court set a firm deadline for filing a responsive pleading to the
FAC in a previous order. (See Order Denying Pl's Mot. for Expedited Jury Trial 4, ECF No. 20.)
Plaintiff's argument is premised on the misunderstanding that a motion to compel arbitration
cannot be substituted for a responsive pleading.

Courts considering the matter have consistently held, however, that "a defendant in a pending
lawsuit may file a petition or motion to compel arbitration in lieu of an answer to the complaint . .
. as procedural summaries in arbitration cases uncontroversially reflect." Lamkin v. Morinda
Properties Weight Parcel, LLC, 440 F. App'x 604, 607–08 (10th Cir. 2011) (citing Green Tree Fin.
Corp. v. Randolph, 531 U.S. 79, 83 (2000), Davis v. S. Energy Homes, Inc., 305 F.3d 1268, 1270
(11th Cir. 2002)); see also Geographic Expeditions, Inc. v. Estate of Lhotka ex rel. Lhotka, 599
F.3d 1102, 1106 (9th Cir. 2010) (reviewing a motion to compel arbitration under Federal Rule of
Civil Procedure 12(b)(1)). The timing for filing a responsive pleading is therefore governed by
Federal Rule of Civil Procedure 12(a)(4), which provides that "if the court denies the motion . . .
the responsive pleading must be served within 14 days after notice of the court's action." Fed. R.
Civ. Proc. 12(a)(4).



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CASE NO.: CV 18-02217 SJO (FFM)                     DATE: April 6, 2018



In the Application, Defendants also note that Plaintiff's counsel did not make himself available for
a meet and confer prior to a reasonable deadline for filing the ex parte application, and that an
agreement on an extension could not be reached during a scheduled meet and confer on April 2,
2018, because it was conditioned on the agreement of Michael Cohen ("Mr. Cohen") to arbitrate
a separate claim for defamation should the motion to compel arbitration be granted. (Appl. 7-9.)
Plaintiff's counsel responds that his travel schedule would not allow for a meet and confer within
the time frame requested by Defendants, that he attempted to make accommodations, and that
in any case, Defendants failed to follow the Court's rules as Mr. Trump's counsel did not
participate in the meet and confer on April 2, 2018. (Opp'n 2-3.)

The instant dispute could, and should, have been resolved in a civil manner by the parties without
intervention by the Court. A short request for extension, supported by good cause, that causes
no prejudice to any party, should be accommodated.

As to the merits of the Application, as Defendants are not required to file a responsive pleading
while a motion to compel arbitration is pending, the Court GRANTS Defendants' Application.

IT IS SO ORDERED.




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